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 4                                   UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7     UNITED STATES OF AMERICA,                                Case No. 2:16-cr-00046-GMN-PAL
 8                                          Plaintiff,
              v.                                                             ORDER
 9
       CLIVEN BUNDY, et al.,                                 (Mots. for Joinder – Dkt. ##453, 457, 463,
10                                                                       473, 490, 499, 500)
                                         Defendants.
11

12            This matter is before the Court on Defendants Peter T. Santilli, Jr., Ammon E. Bundy,
13     Joseph D. O’Shaughnessy, Blaine Cooper, Cliven D. Bundy, Jason D. Woods, and Micah L.
14     McGuire’s Motions for Joinder (Dkt. ##453, 457, 463, 473, 490, 499, 500) to Defendant Ryan
15     W. Payne’s Motion to Compel Electronic Access to Legal Materials and the Ability to
16     Communicate Telephonically with Defense Counsel in a Confidential Manner (Dkt. #442).
17     These Motions are referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1)(A) and LR IB
18     1-3 and 1-7 of the Local Rules of Practice. The Government filed a Response (Dkt. #517)
19     opposing Defendant Payne’s Motion, and incorporating its arguments to the requests for
20     joinders. To avoid serial motions on the same issue, the Court finds good cause to grant these
21     joinder requests, and hereby does so. The Government need not file separate responses to
22     joinders unless the joinders raise new or different arguments than the motion for which the
23     request to join is granted.
24            Accordingly,
25            IT IS ORDERED: Defendants Peter T. Santilli, Jr., Ammon E. Bundy, Joseph D.
26     O’Shaughnessy, Blaine Cooper, Cliven D. Bundy, Jason D. Woods, and Micah L. McGuire’s
27     Motions for Joinder (Dkt. ##453, 457, 463, 473, 490, 499, 500) are GRANTED.                   The
28     Government shall not be required to file separate responses to the joinders, and its Response
                                                         1
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 1     (Dkt. #517) to Defendant Ryan W. Payne’s Motion to Compel Electronic Access to Legal

 2     Materials and the Ability to Communicate Telephonically with Defense Counsel in a

 3     Confidential Manner (Dkt. #442) shall serve as its responses to the Defendants granted leave to

 4     join.

 5             Dated this 14th day of June, 2016.
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                                                          PEGGY A. LEEN
 7                                                        UNITED STATES MAGISTRATE JUDGE
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